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 Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Northern District
     __________        of Texas
                 District  of __________

     Case number (If known): _________________________ Chapter _____



                                                                                                                                # Check if this is an
                                                                                                                                   amended filing

&))*(*'+ %-., 105
Involuntary Petition Against an Individual                                                                                                 12/15

Use this form to begin a bankruptcy case against an individual you allege to be a debtor subject to an involuntary case. If you want to begin a
case against a non-individual, use the Involuntary Petition Against a Non-individual (Official Form 205). Be as complete and accurate as
possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write name and case number (if
known).


Part 1:       Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.    Chapter of the                    Check one:
      Bankruptcy Code
                                        #      Chapter 7
                                        #      Chapter 11


Part 2:       Identify the Debtor


2.    Debtor’s full name                 Eric
                                        __________________________________________________
                                        First name

                                         C
                                        __________________________________________________
                                        Middle name

                                         Blue
                                        __________________________________________________
                                        Last name

                                        ___________________________
                                        Suffix (Sr., Jr., II, III)


3.    Other names you know              __________________________________________________
      the debtor has used in
      the last 8 years                  __________________________________________________

                                        __________________________________________________
       Include any assumed,
       married, maiden, or trade
       names, or doing business as
       names.

4.    Only the last 4 digits of         # Unknown
      debtor’s Social Security
      Number or federal                                  9 ____
                                                             0 ____
                                                                6 ____
                                                                    2
      Individual Taxpayer
                                        xxx     – xx – ____                                     OR       9 xx – xx – ____ ____ ____ ____
      Identification Number
      (ITIN)

5.    Any Employer
      Identification Numbers            # Unknown
      (EINs) used in the last 8
      years                             ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                        EIN

                                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                        EIN


Official Form 105                                           Involuntary Petition Against an Individual                            page 1
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Debtor       Eric  C. Blue
             _______________________________________________________                       Case number (if known)_____________________________________



                                  Principal residence                                        Mailing address, if different from residence
6.   Debtor’s address


                                  3140 Harvard Avenue
                                  _________________________________________________          _________________________________________________
                                  Number     Street                                          Number     Street


                                  Suite 402
                                  _________________________________________________          _________________________________________________


                                  Dallas                           TX      75205
                                  _________________________________________________          _________________________________________________
                                  City                            State   ZIP Code           City                            State   ZIP Code


                                  Dallas
                                  _________________________________________________
                                  County


                                  Principal place of business



                                  3140 Harvard Avenue
                                  _________________________________________________
                                  Number     Street
                                  Suite 402
                                  _________________________________________________


                                  Dallas                           TX      75205
                                  _________________________________________________
                                  City                            State   ZIP Code


                                  Dallas
                                  _________________________________________________
                                  County




7.   Type of business
                                  #   Debtor does not operate a business

                                  Check one if the debtor operates a business:

                                  #   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                  #   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                  #   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                  #   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                  #   None of the above


8.   Type of debt                 Each petitioner believes:
                                  # Debts are primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                      “incurred by an individual primarily for a personal, family, or household purpose.”

                                  # Debts are primarily business debts. Business debts are debts that were incurred to obtain money
                                      for a business or investment or through the operation of the business or investment.


9.   Do you know of any           #   No
     bankruptcy cases
     pending by or against        #   Yes. Debtor _________________________________________________ Relationship __________________________
     any partner, spouse, or
                                            District __________________________Date filed _______________ Case number, if known___________________
     affiliate of this debtor?
                                                                                          MM / DD / YYYY



                                           Debtor _________________________________________________        Relationship ___________________________

                                           District __________________________ Date filed _______________ Case number, if known___________________
                                                                                          MM / DD / YYYY


&))*(*'+ %-., #"$                                    Involuntary Petition Against an Individual                                       page 2
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Debtor          Eric  C. Blue
                _______________________________________________________                              Case number (if known)_____________________________________



Part 3:         Report About the Case

10.   Venue                              Check one:
      Reason for filing in this court.
                                         # Over the last 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of
                                            business, or had principal assets in this district longer than in any other district.

                                         # A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.
                                         # Other reason. Explain. (See 28 U.S.C. § 1408.) ___________________________________________________


11.   Allegations                        Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                         The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                         At least one box must be checked:

                                         # The debtor is generally not paying such debtor’s debts as they become due, unless they are the subject of a
                                            bona fide dispute as to liability or amount.

                                         # Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or
                                            authorized to take charge of less than substantially all of the property of the debtor for the purpose of enforcing a
                                            lien against such property, was appointed or took possession.


12.   Has there been a                   # No
      transfer of any claim
      against the debtor by or           # Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule
      to any petitioner?                          1003(a).



13.   Each petitioner’s claim                                                                                                                 Amount of the
                                            Name of petitioner                                     Nature of petitioner’s claim               claim above the
                                                                                                                                              value of any lien

                                         Portfolio Secure Lone, LLC                              Amounts owed on
                                                                                                 Promissory Note
                                                                                                                                               $
                                                                                                                                                 3,000,000.00
                                                                                                                                               ________________




                                                                                                                                               $
                                                                                                                                               ________________



                                                                                                                                               $
                                                                                                                                               ________________




                                                                                                                                               $
                                                                                                                                    Total        3,000,000.00
                                                                                                                                               ________________



                                            If more than 3 petitioners, attach additional sheets with the statement under penalty
                                            of perjury, each petitioner’s (or representative’s) signature under the statement,
                                            along with the signature of the petitioner’s attorney, and the information on the
                                            petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the
                                            attorney following the format on this form.




&))*(*'+ %-., #"$                                            Involuntary Petition Against an Individual                                         page 3
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Debtor        Eric  C. Blue
              _______________________________________________________                                    Case number (if known)_____________________________________



Part 4:     Request for Relief


   Petitioners request that an order for relief be entered against the debtor under the chapter specified in Part 1 of this petition. If a petitioning
   creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign
   representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

   Petitioners declare under penalty of perjury that the information provided in this petition is true and correct. Petitioners understand that if they make a
   false statement, they could be fined up to $250,000 or imprisoned for up to 5 years, or both.
   18 U.S.C. §§ 152 and 3571. If relief is not ordered, the court may award attorneys’ fees, costs, damages, and punitive damages. 11 U.S.C. § 303(i).

   Petitioners or Petitioners’ Representative                                             Attorneys


"________________________________________
    /s/ Arthur Maxwell, Manager           "________________________________________
                                            /s/ Omar Alaniz
   Signature of petitioner or representative, including representative’s title            Signature of attorney

    Portfolio Secure Lone, LLC
   ______________________________________________________________                          Omar Alaniz
                                                                                          ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed      _________________
                                                                                           Baker Botts L.L.P.
                                                                                          ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any

                                                                                           2001 Ross Avenue, Suite 900
                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                           Dallas                            TX       75201
                                                                                          ________________________________________________________________
    101 Huntington Avenue, Suite 500
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street

    Boston                         MA        02199                                         Date signed     _________________
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                                                                     omar.alaniz@bakerbotts.com
                                                                                           Contact phone 214-953-6500
                                                                                                          _________________ Email ____________________________


   If petitioner is an individual and is not represented by an
   attorney:
    Contact phone          ____________________________

   Email                   ____________________________




   Name and mailing address of petitioner’s representative, if any

    Arthur Maxwell
   ______________________________________________________________
   Name

    101 Huntington Avenue, Suite 500
   ______________________________________________________________
   Number Street

    Boston                         MA        02199
   ______________________________________________________________
   City                             State                ZIP Code




&))*(*'+ %-., #"$                                                 Involuntary Petition Against an Individual                                        page 4
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Debtor        Eric  C. Blue
              _______________________________________________________                                    Case number (if known)_____________________________________




"________________________________________ "________________________________________
   Signature of petitioner or representative, including representative’s title            Signature of Attorney


   ______________________________________________________________                         ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed      _________________                                                    ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any


                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                          ________________________________________________________________
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street
                                                                                           Date signed     _________________
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                           Contact phone   _________________ Email ____________________________


   Name and mailing address of petitioner’s representative, if any

   ______________________________________________________________
   Name


   ______________________________________________________________
   Number Street

   ______________________________________________________________
   City          State ZIP Code




"________________________________________ "________________________________________
   Signature of petitioner or representative, including representative’s title            Signature of Attorney


   ______________________________________________________________                         ________________________________________________________________
   Printed name of petitioner                                                             Printed name


    Date signed      _________________                                                    ________________________________________________________________
                     MM / DD / YYYY                                                       Firm name, if any


                                                                                          ________________________________________________________________
                                                                                          Number Street
   Mailing address of petitioner
                                                                                          ________________________________________________________________
   ______________________________________________________________                         City                             State                ZIP Code
   Number Street
                                                                                           Date signed     _________________
   ______________________________________________________________                                          MM / DD / YYYY
   City                             State                ZIP Code
                                                                                           Contact phone   _________________ Email ____________________________


   Name and mailing address of petitioner’s representative, if any

   ______________________________________________________________
   Name


   ______________________________________________________________
   Number Street

   _____________________________________________________________
   City                             State             ZIP Code




&))*(*'+ %-., #"$                                                 Involuntary Petition Against an Individual                                        page 5
